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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             SOUTHERN DIVISION

                                               )
     HOPE ELLY & PATRICK
                                               )
     DUNN,
                                               )
                 Plaintiffs,                   )
                                               )
                                               )                  CIVIL ACTION
     v.
                                               )                              1:18-cv-244-HSO-JCG
     METRO FOODS OF PASS                       )
     ROAD LLC                                  )
                                               )
                 Defendant.                    )

                                        COMPLAINT

       Comes now the Plaintiffs, Hope Elly & Patrick Dunn, (“hereinafter Plaintiffs”)

through their undersigned counsel and files their Complaint under Title III of the Americans

with Disabilities Act (“ADA”) 42 U.S.C. § 12181 et seq for declaratory and injunctive relief.

             JURISDICTION, PARTIES, AND ARTICLE III STANDING

       1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

ADA and its implementing regulations, and this Court is vested with original jurisdiction

under 28 U.S.C. §1331 and §1343.

       2.     Venue is proper in this Court, pursuant to Title 28, U.S.C. §1391 and the Local

Rules of the United States District Court for the Southern District of Mississippi.

       3.     Plaintiff, Patrick Dunn, resides in Andalusia, Alabama. On March 8, 2001, Mr.

Dunn was injured in an automobile accident that caused permanent damage to his C-7

vertebra in his spinal cord. As a result, he became paralyzed and uses a wheelchair for

mobility and experiences restricted ability to use his hands, arms, and legs. Mr. Dunn is,



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accordingly, a person with a disability pursuant to the Americans with Disabilities Act, in

that he has a physical impairment substantially limiting one or more major life activities. 42

U.S.C. § 12102; See also 28 C.F.R. § 36.104.

       4.     Plaintiff, Hope Elly, has experienced cerebrovascular accidents, which are

more commonly known as strokes. These strokes have affected both her motor and sensory

functions, which causes inactivity and/or paralysis of the muscles; therefore, maintaining

balance, walking, and the ability to use her hands are extremely difficult. As a result of her

disability, she relies on mobility aids for locomotion. The extent of Ms. Elly’s physical

disabilities limits her ability to care for herself, perform manual tasks, walk, stand, lift, bend,

grab, twist, and work, all of which are major life activities pursuant to 42 U.S.C. § 12102 (2)

(A). Ms. Elly is, accordingly, a person with a disability pursuant to the Americans with

Disabilities Act, in that she has a physical impairment substantially limiting one or more

major life activities. 42 U.S.C. § 12102; See also 28 C.F.R. § 36.104.

       5.     Defendant, Metro Foods of Pass Road LLC (hereinafter “Metro Foods”), is a

limited liability company that is both registered to conduct business and is conducting

business within the State of Mississippi sufficient to create both general and specific in

personam jurisdiction. Upon information and belief from the property records on the

Harrison County Geographical Information System, Metro Foods “owns” the real property

and its improvements located at, 2431 Pass Rd, Biloxi, MS 39531 and “operates” the Popeye’s

restaurant located at the aforementioned address. 42 U.S.C. § 12182. The Popeyes is a place

of public accommodation pursuant to 42 U.S.C. § 12181(7).

       6.     All events giving rise to this lawsuit occurred in the Southern District of

Mississippi and the Defendant is a citizen thereof.



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       7.     Plaintiff Patrick Dunn enjoys vacationing in the Mississippi Gulf Coast area

because he enjoys the different types of entertainment, nightlife, and food variety that the Gulf

Coast offers. Plaintiff has recently visited the Popeyes restaurant, specifically and enjoys the

New Orleans style menu and service offered at Popeyes quick service restaurants. He intends

to continue going to Popeyes because he enjoys the cuisine and service offered there. Plaintiff

will return not only to dine at the restaurant, but also to confirm compliance with the ADA

by the Defendant. Plaintiff cannot provide a specific time and date upon which he will return

to the restaurant because he has not and should not be expected to engage in such definite

future planning. Plaintiff, like other fast food customers, often patronizes a fast food

establishment on the spur of the moment. Nevertheless, Plaintiff definitely intends to return

to the restaurant.

       8.     Plaintiff Hope Elly enjoys vacationing in the Mississippi Gulf Coast area

because she enjoys the different types of entertainment, nightlife, shopping and food variety

that the Gulf Coast offers. Plaintiff has recently visited the Popeyes restaurant, specifically

and enjoys the New Orleans style menu and service offered at Popeyes quick service

restaurants. She intends to continue going to Popeyes because she enjoys the cuisine and

service offered there. Plaintiff will return not only to dine at the restaurant, but also to confirm

compliance with the ADA by the Defendant. Plaintiff cannot provide a specific time and date

upon which she will return to the restaurant because she has not and should not be expected

to engage in such definite future planning. Plaintiff, like other fast food customers, often

patronizes a fast food establishment on the spur of the moment. Nevertheless, Plaintiff

definitely intends to return to the restaurant.




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        9.     Because of the barriers described below and throughout the Complaint,

Plaintiffs have been denied full and equal enjoyment of the Defendant’s premises on the basis

of their disabilities.

        10.    Plaintiffs accordingly, have Article III standing to pursue this case because (1)

They are persons with a disability, pursuant to the statutory and regulatory definition; (2) the

Defendant’s restaurant is a place of public accommodation, pursuant to the statutory and

regulatory definition; (3) They have suffered a concrete and particularized injury by being

denied access to the establishment by architectural barriers, by being denied access by the

Defendant’s practices described herein, and by Defendant’s denial of the use of the restaurant

for their full and equal enjoyment as compared to people without disabilities, as described

throughout the Complaint, and (4) Furthermore, due to these injuries, there exists a genuine

threat of imminent future injury as long as the barriers described remain at the facility.

                                          COUNT ONE
               Failure to Design and Construct in Accordance with the ADA Standards
                                     (Architectural Barriers)

        11.    Plaintiffs incorporate by reference and reallege all the paragraphs above.

        12.    The Defendant has failed to design and construct its restaurant in accordance

with the ADA standards as required and it has failed to bring its restaurant into compliance

with the applicable ADA Standards when the facility was subsequently altered.

        13.    In enacting the ADA, Congress found, among other things that Persons with

disabilities continually encounter various forms of discrimination, including outright

intentional exclusion, the discriminatory effects of architectural, transportation, and

communication barriers, overprotective rules and policies, failure to make modifications to

existing facilities and practices, exclusionary qualification standards and criteria, segregation,


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and relegation to lesser services, programs, activities, benefits, jobs, or other opportunities. 42

U.S. C. §12101(A)(5).

       14.    In response to these findings, Congress explicitly stated that the purpose of the

ADA was to:

           A.Provide a clear and comprehensive national mandate for elimination of

               discrimination against individuals with disabilities;

           B. Provide    clear,   strong,    consistent,    enforceable   standards   addressing

               discrimination against individuals with disabilities; and

           C. Invoke the sweep of congressional authority, including the power to enforce

               the Fourteenth Amendment and to regulate commerce, in order to address the

               major areas of discrimination faced on a daily basis by people with disabilities.

               42 U.S.C. § 12101(b)(1)(2) and (4).

       15.    The ADA was enacted requiring that facilities constructed prior to January 26,

1992, are considered an “existing” “facility, such that those facilities must remove

architectural barriers where such removal is readily achievable. 42 U.S.C. §

12182(b)(2)(A)(iv). All “alterations” made to existing facilities after January 26, 1992, and all

“new construction” after January 26, 1993, were required to be readily accessible to and usable

by individuals with disabilities, including individuals who use wheelchairs. 42 U.S.C. § 12183(a)

and (b). 28 C.F.R. § 36.402. “Readily accessible to and usable by. . .” was and is the “new

construction” standard, which requires compliance with the Department of Justice standards.

42 U.S.C. § 12183(a)(1); 28 C.F.R. § 36.406. The only defense for a covered entity failing to

design and construct a facility in strict compliance with the ADA “new construction”

Standards is if compliance with the Standards is “structurally impracticable”. 42 U.S.C. §



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12183(a)(1). The “structural impracticability” defense applies only in rare circumstances of

extraordinary terrain. 28 C.F.R. § 36.401(c). “Readily accessible to and usable by. . .” is also

the “alterations” standard. 42 U.S.C. § 12183(a)(2). “Alterations” must be made to the

maximum extent feasible. 42 U.S.C. § 12183(a)(2); 28 C.F.R. § 36.402. An alteration is a

change to a place of public accommodation or commercial facility that affects or could affect

the usability of the facility or any part thereof. 28 C.F.R. § 36.402(b).

       16.    New construction and alterations must strictly comply with either the Justice

Department’s 1991 Standards for Accessible Design, or the 2010 Standards for Accessible

Design. 28 C.F.R. § 36.406 establishes whether the 1991 or 2010 Standards apply: New

construction and alterations subject to §§ 36.401 or 36.402 shall comply with the 1991

Standards if the date on which the last application for a building permit or permit extension

is certified to be complete by a governmental entity before September 15, 2010, or if no permit

is required, if the start of physical construction or alterations occurs before September 15,

2010. 28 C.F.R. § 36.406(a)(1). New construction and alterations subject to §§ 36.401 or 36.402

shall comply either with the 1991 Standards or with the 2010 Standards if the date on which

the last application for a building permit or permit extension is certified to be complete by a

Governmental entity on or after September 15, 2010, and before March 15, 2012, or if no

permit is required, if the start of physical construction or alterations occurs on or after

September 15, 2010, and before March 15, 2012. 28 C.F.R. § 36.406(a)(2). New construction

and alterations subject to §§ 36.401 or 36.402 shall comply with the 2010 Standards if the date

on which the last application for a building permit or permit extension is certified to be

complete by a Governmental entity on or after March 15, 2012, or if no permit is required, if

the start of physical construction or alterations occurs on or after March 15, 2012. Where the



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facility does not comply with the 1991 Standards, the 2010 Standards are applicable. See 28 C.F.R. §

36.406(5)(ii) which states, “Newly constructed or altered facilities or elements covered by §§

36.401 or 36.402 that were constructed or altered before March 15, 2012 and that do not

comply with the 1991 Standards shall, on or after March 15, 2012, be made accessible in

accordance with the 2010 Standards.”

       17.    Based on publicly available information, Plaintiffs are informed and believe

that the building in which the restaurant is located was constructed during 2000. Based on

publicly available information, Plaintiffs are informed and believe that the restaurant

underwent alterations and/or improvements after 2000.

       18.    The following is a specific, although not exclusive, list of unlawful physical

barriers, dangerous conditions and ADA violations which preclude or limit Plaintiffs’ ability

(because of their disabilities) to access the Property and/or fully and equally enjoy the goods,

services, facilities, privileges, advantages and/or accommodations offered in the facility. The

citations are to the ADA 2010 Standards, because the 2010 Standards are applicable to

modifications made after March 15, 2012. 28 C.F.R. § 36.406(5)(ii).

                 A. Based on the total number of parking spaces at the restaurant,

                       Defendant has failed to provide the required number of accessible

                       parking spaces. § 208.2 and 508;

                 B. Defendant has failed to provide at least one “van” accessible parking

                       space measuring 132 inches wide with a 60-inch-wide adjacent access

                       aisle, or alternatively measuring 96 inches wide with a 96-inch-wide

                       adjacent access aisle. § 208.2.4 and 502.2;




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           C. Defendant has failed to provide required signage for accessible parking.

                 § 502.6 and 502.2;

           D. Defendant has failed to provide an accessible route from the designated

                 accessible parking and access aisles to the entrance because the running

                 and/or cross slopes at the designated accessible parking spaces exceed

                 the maximum slope requirement of “no less than 1:48 in any direction”,

                 in violation of §208 and §502.4;

           E. Defendant has failed to provide the required accessible routes from the

                 parking lot to the entrance, including uneven paths of travel. §206, 402

                 and 403;

           F.   Defendant has failed to provide an accessible route from the designated

                 access aisle to the curb ramp because the route overlaps the traffic lane.

                 §502.3.4;

           G. There is no level landing to provide the required maneuvering clearance

                 at the top of the curb ramp at the entrance door. §405.7 and §404.2.4;

           H. The self-servicing condiment counters and self-servicing drink

                 dispensers and counters fail to comply with the height and reach ranges

                 of §308 and §904.5.1;

           I.   The dining area does not contain the required 5% of the tables which

                 meet the height and knee clearance requirements of §226 and §902.3;

           J.   Neither restroom door has the required maneuvering clearance on either

                 the push or pull side of the door. §404.2.4;




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                K. Neither restroom has the required turning space or maneuvering

                      clearance at the fixtures due to the size and configuration of the rooms

                      and due to the swing of the entrance doors into the clear floor space.

                      §604.3.1;

                L. The grab bars in the women's restroom fail to meet the required

                      minimum length and height. §609;

                M. The lavatory pipes are not insolated in both restrooms. §606.5;

                N. The toilet paper dispenser in both restrooms is not located the required

                      distance from the toilet. §604.7;

       19.   The above itemization is not intended to be an all-inclusive list of the barriers,

conditions and violations of the ADA encountered by Plaintiffs and existing at the Property.

Although, the above listing, in and of itself, denied and still denies Plaintiffs, due to their

disabilities, and equal enjoyment of the goods, services, facilities, privileges, advantages,

and/or accommodations offered at the Property in violation of the ADA. Plaintiffs require

full and complete inspection of the Property, with full access thereto, in order to determine all

of the Defendant’s discriminatory acts violating the ADA relevant to Plaintiffs’ disabilities.

       20.   Plaintiffs believe that violations of the ADA still exist and have not been

remedied or altered in such a way as to effectuate compliance with the provisions of the

Statute.

       21.   Failure of Defendant to "design and construct" and alter this facility in

compliance with the ADA’s New construction standards is a direct violation of the statute,

and more specifically, has a discriminatory impact on Plaintiffs and all persons similarly

situated.



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                                              COUNT TWO
    Failure to modify policies, practices, and procedures which deny equal access to benefits and services
                                       U.S.C. § 12182(b)(2)(A)(ii))

         22.     Plaintiffs incorporate by reference and reallege all the paragraphs above.

         23.     The ADA, Title III, specifically makes it unlawful to provide individuals with

disabilities with an “unequal benefit,” and to relegate individuals with disabilities to a

“different or separate” benefit. 42 U.S.C. §§ 12182(b)(1)(A))(ii)-(iii); 28 C.F.R. § 36.202(b)-

(c). In other words, persons with disabilities must receive equal benefits as compared to the

benefits received by persons without disabilities. Further, 28 C.F.R. § 302(b) requires that

goods, services, and accommodations be provided to individuals with disabilities in “the most

integrated setting appropriate.” 42 U.S.C. § 12182(b)(1)(B); 28 C.F.R. § 36.203(a). Similarly,

the Preamble in addition to recognizing that persons who use wheelchairs and mobility aids

have been forced to sit apart from family and friends, also recognizes that persons who use

wheelchairs and mobility aids historically have been provided “segregated accommodations”

compared to non-disabled individuals, thus relegating persons who use wheelchairs “to the

status of second-class citizens.” See 28 C.F.R. pt. 36, App. B, at 631-633, 651 (2000)

(discussion of §§ 36.308, 36.203).

         24.     ADA, Title III requires a public accommodation to provide individuals with

disabilities more than simple physical access. Creating unlawful architectural barriers by failure

to design, construct and alter the facility in accordance with the ADA Standards as set forth

in Count One, herein, is only one component of the ADA’s non-discrimination provisions in

Title III. Congress recognized that “individuals with disabilities continually encounter

various forms of discrimination” including not only barriers to physical access, but also other

forms of exclusion and relegation to lesser services, programs, activities, benefits, jobs, or



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other opportunities. 42 U.S.C. 12101(a)(5); see also H.R. Rep. No. 485, Pt. 2, 101st Cong.,

2d Sess. 35-36 (1990) (“lack of physical access to facilities” was only one of several “major

areas of discrimination that need to be addressed”); H.R. Rep. No. 485, Pt. 3, 101st Cong.,

2d Sess. 54 (1990) (“It is not sufficient to only make facilities accessible and usable; this title

prohibits, as well, discrimination in the provision of programs and activities conducted by the

public accommodation.”).

        25.    For this reason, the Act applies not only to barriers to physical access to places

of public accommodation, but also to any policy, practice, or procedure that operates to

deprive individuals with disabilities the full and equal enjoyment of the privileges and services

offered by the public accommodation. 42 U.S.C. § 12182. Thus, a public accommodation

may not have a policy, practice or procedure that excludes individuals with disabilities from

services. 42 U.S.C. § 12182(b)(2)(A)(ii). The Eleventh Circuit held in Rendon v. Valleycrest

Prod., Ltd. 294 F.3d 1279, (11th Cir. 2002) that:

                      “A reading of the plain and unambiguous statutory language at
                       issue reveals that the definition of discrimination provided in
                       Title III covers both tangible barriers (emphasis added), that is,
                       physical and architectural barriers that would prevent a disabled
                       person from entering an accommodation's facilities and accessing
                       its goods, services and privileges, see 42 U.S.C. §
                       12182(b)(2)(A)(iv), and intangible barriers (emphasis added),
                       such as eligibility requirements and screening rules or
                       discriminatory policies and procedures that restrict a disabled
                       person's ability to enjoy the defendant entity's goods, services and
                       privileges.”


        26.    Pursuant to 42 U.S.C. § 12182(b)(2)(A)(ii) discrimination includes: “a failure to

make reasonable modifications in policies, practices, or procedures, when such modifications are necessary

to afford such goods, services, facilities, privileges, advantages, or accommodations to individuals with




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disabilities, unless the entity can demonstrate that making such modifications would fundamentally alter

the nature of such goods, services, facilities, privileges, advantages, or accommodations.”

        27.    Accordingly, a place of public accommodation must modify any policy or

practice that has the consequence of, or tends to deny, full and equal access to goods or

services to persons with disabilities.

        28.    The Defendant either has no policies, practices, and procedures to remove

architectural barriers or else does not abide by them. The architectural barriers identified in

Count One establish that Defendant has failed to create, adopt, and/or implement ADA Title

III compliance policies, procedures, and practices as to architectural barriers.

        29.    Defendant’s obvious disregard for compliance with the ADA’s alteration

standards reflects, at a minimum, a centralized policy which excludes persons with disabilities

in the planning and implementation of alterations of the facility. Renovation of the facility

afforded Defendant a post-construction opportunity to bring the restaurant into compliance

with the ADA Standards, but Defendant’s policies and practices of non-compliance with the

ADA’s alteration standards effectively ensure that persons with disabilities continue to have

unequal access to the services and accommodations offered.

        30.    Defendant’s policies and practices at the restaurant literally create barriers and

in so doing deny Plaintiffs the full and equal enjoyment of the establishment. Those policies

and practices include but are not limited to:

            A.The Defendant denies accessible and useable parking to persons with

                disabilities;

            B. The existing signage displaying the international symbol of accessibility is

                identifying and directing individuals with disabilities to parking spaces that do


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           not comply with the ADA Standards for Accessible Design. This policy has a

           discriminatory effect on persons with disabilities;

        C. Defendant provides an unequal path of travel from the parking area to the

           entrance by maintenance of a non-compliant landing as a part of the path of

           travel. These barriers may force some persons with physical disabilities to seek

           assistance getting into and out of the restaurant. This discriminatory impact is

           a direct result of Defendant's policy of failure to maintain or provide a required

           accessible path of travel;

        D.Defendant’s seating arrangements in the dining area are designed, positioned,

           and oriented in a way that excludes or otherwise segregates persons who use

           wheelchairs. Persons using wheelchairs are therefore excluded from the

           diversity of seating locations and scenery offered to persons without disabilities;

        E. Defendant has failed to maintain the surface of the sales and/or service

           counters so that they are free from obstructions. This has a discriminatory effect

           on individuals with disabilities attempting to use the counters;

        F. Defendant makes its toilet facilities inaccessible for use by persons with

           disabilities by failing to maintain the required ADA accessible elements and

           fixtures within the restrooms so that Plaintiff is denied the opportunity to

           independently use all the features in the restroom;

        G.Defendant's discriminatory policies and practices make its quick-service

           restaurant experience inaccessible for use by individuals with disabilities by

           failing to provide them an equal level of access and service;




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           H.Defendant's actions which are a direct result of its discriminatory policies

              effectively exclude customers with disabilities from enjoyment of the goods and

              services offered;

       31.   As the continuing architectural barriers and the failure to provide full and equal

use of the facility establishes, Defendant either has no policies, practices, or procedures, or

else it has failed to implement them, to ensure that any removal of architectural barriers is

permanent. 42 U.S.C. § 12182(b)(2)(a)(iv) and (v).

       32.   To date, the Defendant’s discriminatory policies, practices, and/or procedures

have not been reasonably modified to afford goods, services, facilities, privileges, advantages,

or other accommodations to individuals with disabilities. A reasonable modification in the

policies, practices, and procedures described above will not fundamentally alter the nature of

such goods, services, facilities, privileges, advantages, and accommodations.

       33.   Defendant, “owns” and “operates” the restaurant which is the subject of this

action and is therefore, pursuant to 42 U.S.C. § 12182, responsible for creating, implementing,

and maintaining policies, practices and procedures, as alleged above.

       34.   Plaintiffs, hereby, provides sufficient notice of their demands for a modification

of Defendant’s policies, practices, and procedures.

       35.   Plaintiffs have been obligated to retain the undersigned counsel for the filing

and prosecution of this action. They are entitled to have their reasonable attorney’s fees, costs

and expenses paid by the Defendant pursuant to 42 U.S.C. § 12205.

       36.   Pursuant to 42 U.S.C. § 12188 this Court is authorized to enjoin these illegal

policies, practices, and procedures.




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                                         COUNT THREE
    Plaintiffs have been denied Full and Equal Enjoyment of the goods, services and facilities of the
                                             restaurant
                                       (42 U.S.C. §12182(a))

        37.    Plaintiffs incorporate by reference and reallege all the paragraphs above.

        38.    42 U.S.C. § 12182(a) provides:

                        “No individual shall be discriminated against on the basis of
                         disability in the full and equal enjoyment of the goods, services,
                         facilities, privileges, advantages, or accommodations of any place
                         of public accommodation by any person who owns, leases (or
                         leases to), or operates a place of public accommodation.”


        39.    Congress enacted the ADA upon finding, among other things, that "society has

tended to isolate and segregate individuals with disabilities" and that such forms for

discrimination continue to be a “serious and pervasive social problem.” 42 U.S.C. §

12101(a)(2).

        40.    Congress also found that: “individuals with disabilities continually encounter various

forms of discrimination, including outright intentional exclusion, the discriminatory effects of

architectural, transportation, and communication barriers, overprotective rules and policies, failure to

make modifications to existing facilities and practices, exclusionary qualification standards and criteria,

segregation, and relegation to lesser services, programs, activities, benefits, jobs, or other opportunities,

42 U.S.C. § 12101(a)(5); “the nation’s proper goals regarding individuals with disabilities are to assure

equality of opportunity, full participation, independent living, and economic self-sufficiency for such

individuals;” 42 U.S.C. § 12101(a)(7). Congress even found that: “the continuing existence of

unfair and unnecessary discrimination and prejudice denies people with disabilities the opportunity to

compete on an equal basis and to pursue those opportunities for which our free society is justifiably famous




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and costs the United States billions of dollars in unnecessary expenses resulting from dependency and

nonproductivity.” 42 U.S.C. § 12101(a)(8).

        41.    In response to these findings, Congress explicitly stated that the purpose of the

ADA is to provide “a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities” and “clear, strong, consistent, enforceable

standards addressed discrimination against individuals with disabilities.” 42 U.S.C. §

12101(b)(1)-(2).

        42.    The ADA provides, inter alia, that it is discriminatory to subject an individual

or class of individuals on the basis of a disability “to a denial of the opportunity of the

individual or class to participate in or benefit from the goods, services, facilities, privileges,

advantages, or accommodations of an entity.” 42 U.S.C. § 12182(a)(i).

        43.    The ADA further provides that it is discriminatory “to afford an individual or

class of individuals, on the basis of a disability ... with the opportunity to participate in or

benefit from a good, service, facility, privilege, advantage, or accommodation that is not equal

to that afforded to other individuals.” 42 U.S.C. § 12182(a)(ii).

        44.    To address this broad range of discrimination in the context of public

accommodations, Congress enacted Title III, which by its clear text, requires a public

accommodation to provide individuals with disabilities more than simple physical access.

Congress recognized that “individuals with disabilities continually encounter various forms of

discrimination” including not only barriers to physical access, but also other forms of exclusion

and relegation to lesser services, programs, activities, benefits, jobs, or other opportunities. 42 U.S.C.

12101(a)(5); see also H.R. Rep. No. 485, Pt. 2, 101st Cong., 2d Sess. 35-36 (1990) (“lack of

physical access to facilities” was only one of several “major areas of discrimination that need



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to be addressed”); H.R. Rep. No. 485, Pt. 3, 101st Cong., 2d Sess. 54 (1990) (“It is not sufficient

to only make facilities accessible and usable; this title prohibits, as well, discrimination in the

provision of programs and activities conducted by the public accommodation.”).

        45.     Therefore, the Act applies to any barrier which denies to individuals with

disabilities the full and equal enjoyment of the privileges and services offered by the public

accommodation. 42 U.S.C. 12182.

        46.     The keystone for analysis of full and equal enjoyment is Defendant must start

by considering how its facilities are used by non-disabled guests and then take reasonable steps to provide

guests with disabilities with a like experience. Spector v. Norwegian Cruise Line Ltd., 545 U.S. 119,

128–29, 125 S.Ct. 2169, 162 L . E d . 2d 97 (2005).

        47.     Plaintiffs specifically and definitely want to return to the Defendant’s Popeyes

restaurant. However, Plaintiffs demand to be afforded the same level of service and same

experience that is offered to non-disabled individuals. The following is a list of some of the

unequal treatment and services at Defendant’s restaurant which have been experienced by

Plaintiffs:

              A.Defendant fails to provide an accessible parking area and accessible route for

                 individuals with disabilities which means Plaintiffs and others similarly

                 situated cannot determine if there is a useable, accessible parking space, cannot

                 independently exit a vehicle and use a mobility device to enter the Restaurant,

                 and cannot independently travel from the parking area into the facility;

              B. The seating area is arranged and designed in a manner which excludes

                 individuals with disabilities and denies them the same seating options enjoyed

                 by non-disabled customers; because individuals with disabilities are forced to



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                sit at tables which do not provide the necessary, required knee and toe clearance

                and/or a useable height;

            C. Defendant fails to provide an accessible restroom for persons with disabilities,

                which means that, unlike people without disabilities, individuals with

                disabilities are challenged or denied the opportunity to independently use the

                restroom, move throughout the restroom, and effectively use all the restroom

                fixtures and elements;

            D.Defendant’s continued failure to maintain ADA accessibility as an integral part

                of the highest possible dining experience has segregated or otherwise treated

                Plaintiffs and others similarly situated differently, in that the inaccessible

                features at the Restaurant make Plaintiffs dependent on family or an

                independent third party, which is not the same dining experience afforded to

                persons without disabilities;

        48.    Accordingly, Defendant’s “use” of the accessible features constitutes statutory

discrimination in violation of the ADA because Defendant has segregated and separated

persons with disabilities from non-disabled individuals. “The goal is to eradicate the invisibility of

the handicapped. Separate-but-equal services do not accomplish this central goal and should be rejected.”

H.R. Rep. No. 101-485(III), at 50, 1990 U.S.C.C.A.N at 473. The ADA provides a “broad

mandate” to “eliminate discrimination against disabled individuals, and to integrate those

individuals into the economic and social mainstream of American life. PGA Tour, Inc. v.

Martin, 532 U.S. 661, 675, 121 S.Ct.1879, 149 L.Ed.2d 904 (2001) (quoting H.R.Rep. No. 101-

485, pt. 2, p.50 (1990), reprinted in 1990 U.S.C.C.A.N. 303, 332).

        49.    Defendant discriminated against Plaintiffs by denying Plaintiffs “full and equal


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enjoyment” and use of the goods, services, facilities, privileges and accommodations of the

facility during each visit. Each incident of deterrence denied Plaintiffs an equal “opportunity

to participate in or benefit from the goods, services, facility, privilege, advantage, or

accommodations” of the Popeyes QSR.

       50.   Defendant’s conduct and Defendant’s unequal treatment of Plaintiffs

constitutes continuous violations of the ADA and absent a Court ordered injunction from

doing so, Defendant will continue to treat Plaintiffs and others similarly situated unequally.

       51.   Defendant’s failure to maintain the accessible features that are required to be

readily accessible to and usable by individuals with disabilities constitutes continuous

discrimination and absent a Court ordered injunction, Defendant will continue to fail to

maintain the required accessible features at Defendant’s facility. 28 C.F.R.§ 36.211(a).

       52.   Plaintiffs have been obligated to retain the undersigned counsel for the filing

and prosecution of this action. They are entitled to have their reasonable attorney’s fees, costs

and expenses paid by the Defendant pursuant to 42 U.S.C. § 12205.

       53.   Pursuant to 42 U.S.C. § 12188, this Court is authorized to enjoin these illegal

acts of Defendant.




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       WHEREFORE, premises considered, Hope Elly & Patrick Dunn demand judgment

against the Defendant on Counts One, Two, and Three, and requests the following injunctive

and declaratory relief:

       1.   That the Court declare that the property owned and business operated by the

             Defendant as well as all Defendant’s illegal actions described herein violate the

             Americans with Disabilities Act, as more particularly described above;

       2.   That the Court enter an order directing the Defendant to alter the facility to make

             it accessible to and usable by individuals with disabilities to the full extent

             required     by   Title   III   of   the   ADA,   to comply with 42 U.S.C. §

             12182(b)(2)(A)(iv) and its implementing regulations, as stated in Count One;

       3.   That the Court enter an order, in accordance with Count Two, directing the

             Defendant to modify its policies, practices, and procedures both to remedy the

             numerous ADA violations outlined above, in violation of 42 U.S.C. §

             12182(b)(2)(A)(ii), and to permanently enjoin Defendant to make its business

             practices consistent with ADA Title III in the future;

       4.   That the Court enter an order directing the Defendant to provide Plaintiffs full

             and equal access both to the Popeyes QSR experience and to the use of the

             establishment, and further order Defendant to maintain the required accessible

             features at its facility so that Plaintiffs and others similarly situated are offered

             the same experience that is offered to members of the general public without

             disabilities, as stated in Count Three. 42 U.S.C. § 12182(a);

       5.   That the Court enter an Order directing the Defendant to evaluate and neutralize

             its policies, practices, and procedures towards persons with disabilities for such



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